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                     LAUNCH LABS, INC. d/b/a AXIOM ZEN
           13
           14                              UNITED STATES DISTRICT COURT
           15                           SOUTHERN DISTRICT OF CALIFORNIA
           16        FOUNDER STARCOIN, INC., a             Case No. 18-cv-0972- JLS-MDD
                     California corporation,
           17                                              DECLARATION OF ELIZABETH A.
                                   Plaintiff,              TRAFTON IN SUPPORT OF
           18                                              DEFENDANT’S OPPOSITION TO MOTION
                     v.                                    FOR PRELIMINARY INJUNCTION
           19
                     LAUNCH LABS, INC. d/b/a AXIOM
           20        ZEN, a Canada corporation,
           21                      Defendant.
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  COOLEY LLP                                                                    18-CV-0972- JLS-MDD
ATTO RNEY S AT LAW
     BOSTON
                                                          1.     E. TRAFTON DECL. ISO OPPOSITION TO
                                                                MOTION FOR PRELIMINARY INJUNCTION
              Case 3:18-cv-00972-JLS-MDD Document 22 Filed 05/31/18 PageID.336 Page 2 of 4



              1            I, Elizabeth A. Trafton, state as follows:
              2            1.      I am with the law firm of Cooley, LLP in Boston Massachusetts. I am
              3      admitted to practice before the Courts of the Commonwealth and in good standing. I
              4      am admitted pro hac vice to practice in this Court in the above-captioned litigation. I
              5      submit this Declaration in Support of Defendant Launch Labs, Inc. d/b/a Axiom Zen’s
              6      (“Axiom Zen”) Opposition to Plaintiff Founder Starcoin, Inc.’s (“Starcoin”) Motion
              7      for Preliminary Injunction.
              8            2.      Attached as Exhibit 1 is a true and correct copy of a CNBC article
              9      entitled “Meet CryptoKitties, the $100,000 digital beanie babies epitomizing the
           10        cryptocurrency mania.”
           11              3.      Attached as Exhibit 2 is a true and correct copy of CryptoKitties’ “White
           12        Pa-purr,” CryptoKitties: Collectible and Breedable Cats Empowered by Blockchain
           13        Technology.
           14              4.      Attached as Exhibit 3 is a true and correct copy of an email chain
           15        between Roham Gharegozlou, Jody Rebak, and a potential partner, latest email dated
           16        October 20, 2017.
           17              5.      Attached as Exhibit 4 is a true and correct copy of the tweets that Mack
           18        Flavelle sent out to Ghostface Killer, Young Thug, Lil B, and Poppy.
           19              6.      Attached as Exhibit 5 is a true and correct copy of the LinkedIn messages
           20        between a potential partner and Axiom Zen regarding a possible collaboration.
           21              7.      Attached as Exhibit 6 is a true and correct copy of an email from a
           22        potential partner to Mack Flavelle dated February 7, 2018.
           23              8.      Attached as Exhibit 7 is a true and correct copy of a Motherboard, Vice
           24        article entitled “I Bred ‘Crypto Kitties’ on the Ethereum Blockchain.”
           25              9.      Attached as Exhibit 8 is a true and correct copy of the email chain
           26        between Jevon Feinblatt and Jody Rebak, latest email dated February 26, 2018.
           27              10.     Attached as Exhibit 9 is a true and correct copy of Starcoin’s slide deck.
           28              11.     Attached as Exhibit 10 is a true and correct copy of a February 13, 2018
  COOLEY LLP                                                                            18-CV-0972- JLS-MDD
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     BOSTON
                                                                2.       E. TRAFTON DECL. ISO OPPOSITION TO
                                                                        MOTION FOR PRELIMINARY INJUNCTION
              Case 3:18-cv-00972-JLS-MDD Document 22 Filed 05/31/18 PageID.337 Page 3 of 4



              1      email from Jevon Feinblatt to Jody Rebak, Julia Leao, and Kim Cope.
              2               12.   Attached as Exhibit 11 is a true and correct copy of a Medium article
              3      entitled “How Fans Can Invest in Athletes: the Ultimate Fantasy Sport.”
              4               13.   Attached as Exhibit 12 is a true and correct copy of a Medium article
              5      entitled “Tokenizing the economy: sports industry.”
              6               14.   Attached as Exhibit 13 is a true and correct copy of a CNET article
              7      entitled “Cryptocurrency now you lets collect digital cards for celebrities.”
              8               15.   Attached as Exhibit 14 is a true and correct copy of a Business Insider
              9      article entitled “Blockchain tokens could transform the music industry.”
           10                 16.   Attached as Exhibit 15 is a true and correct copy of TokenStars
           11        Company’s White Paper.
           12                 17.   Attached as Exhibit 16 is a true and correct copy of TokenStars website
           13        screenshot.
           14                 18.   Attached as Exhibit 17 is a true and correct copy of STARKST’s White
           15        Paper.
           16                 19.   Attached as Exhibit 18 is a true and correct copy of Dapper Labs Inc.’s
           17        Certificate of Incorporation.
           18                 20.   Attached as Exhibit 19 is a true and correct copy of a Techvibes article
           19        entitled “CryptoKitties Leaps into the Mainstream with $12 Million Raise.”
           20                 21.   Attached as Exhibit 20 is a true and correct copy of a Medium article
           21        entitled “CryptoKitties, not cryptocurrencies!”
           22                 22.   Attached as Exhibit 21 is a true and correct copy of an email from a
           23        potential partner to Mack Flavelle dated January 3, 2018.
           24                 23.   Attached as Exhibit 22 is a true and correct copy of an email from a
           25        potential partner to Mack Flavelle dated February 13, 2018.
           26                 24.   Attached as Exhibit 23 is a true and correct copy of a January 30, 2018
           27        email to Mack Flavelle inquiring about CryptoKitties’ affiliation with
           28        CryptoCelebrities.
  COOLEY LLP                                                                             18-CV-0972- JLS-MDD
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                                                                3.        E. TRAFTON DECL. ISO OPPOSITION TO
                                                                         MOTION FOR PRELIMINARY INJUNCTION
              Case 3:18-cv-00972-JLS-MDD Document 22 Filed 05/31/18 PageID.338 Page 4 of 4



              1            25.   Attached as Exhibit 24 is a true and correct copy of a February 8, 2018
              2      email from Pierre Beugnot to Jody Rebak.
              3
              4            I declare under penalty of perjury that the foregoing is true and correct.
              5
              6            Executed this 31st day of May, 2018.
              7
                                                               /s/ Elizabeth A. Trafton
              8                                                Elizabeth A. Trafton
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  COOLEY LLP                                                                           18-CV-0972- JLS-MDD
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     BOSTON
                                                               4.       E. TRAFTON DECL. ISO OPPOSITION TO
                                                                       MOTION FOR PRELIMINARY INJUNCTION
